Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 1 of 12 PageID #: 1
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 2 of 12 PageID #: 2
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 3 of 12 PageID #: 3
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 4 of 12 PageID #: 4
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 5 of 12 PageID #: 5
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 6 of 12 PageID #: 6
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 7 of 12 PageID #: 7
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 8 of 12 PageID #: 8
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 9 of 12 PageID #: 9
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 10 of 12 PageID #: 10
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 11 of 12 PageID #: 11
Case: 4:18-cv-00150-GHD-RP Doc #: 1 Filed: 07/16/18 12 of 12 PageID #: 12
